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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


 United States of America,

                         Plaintiff,     Case No. 17-20184

 v.                                     Judith E. Levy
                                        United States District Judge
 James Bowens (D-7),                    Mona K. Majzoub
                                        Magistrate Judge
                      Defendant.
 ________________________________/


   ORDER DENYING DEFENDANT JAMES BOWENS’ MOTION
          FOR COMPASSIONATE RELEASE [593]

      Before the Court is Defendant’s request for compassionate release

from federal custody due to the ongoing COVID-19 pandemic. (ECF No.

598.) For the following reasons, Defendant’s motion is DENIED.

Background

      On October 23, 2020, the Court sentenced Defendant to 168 months’

imprisonment after he pled guilty to one count of RICO Conspiracy, in

violation of 18 U.S.C. § 1962(d). (ECF No. 567.) The factual basis for

Defendant’s plea involves his participation in narcotics trafficking and

racketeering activities for the “Young and Scandalous”/“Young and
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Skantless”/“YNS” gang in Brightmoor, Detroit. (See ECF No. 505.)

Specifically, Defendant admitted that he discussed narcotics distribution

with other members of the conspiracy; participated in the wiring of

proceeds from the sale of illegal narcotics; possessed with the intent to

distribute cocaine in furtherance of the enterprise; and was personally

involved in the distribution of, or it was reasonably foreseeable to

Defendant that his co-conspirators distributed, at least 840 grams of

cocaine base. (See id. at PageID.7305-7306.)

      On June 7, 2021,1 Defendant moved for compassionate release

and/or reduction of his sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i),

arguing that the danger posed to him by the COVID-19 pandemic due to

his severe obesity, high blood pressure, sleep apnea, thyroid hormone

deficiency disorder, low potassium levels, and weak heart constitutes an

“extraordinary and compelling reason” for release. (Id. at PageID.9162.)

In his motion, Defendant noted that he “has elected NOT to take the

Moderna COVID-19 vaccine.” (Id. at PageID.9157 (emphasis in original).)

He additionally noted that it is




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        reckless and disingenuous for the government—or any agent
        of the government—to argue that because an experimental
        vaccine is available for use that federal inmates should
        subject themselves to it when there have been zero (0) long-
        term studies regarding its use and side-effects . . . Mr. Bowens
        is a federal inmate, not a federal test subject, and should not
        have his Motion prejudiced because he refuses to submit
        himself to an untested, rushed vaccine.
(Id.)

Analysis

        Compassionate-release motions require a “three-step” inquiry:

        First, the Court must “find that extraordinary and compelling
        reasons warrant a sentence reduction”;

        Second, the Court must “ensure that such a reduction is
        consistent with applicable policy statements issued by the
        Sentencing Commission”; and

        Finally, the Court must “consider all relevant sentencing
        factors listed in 18 U.S.C. § 3553(a).”

United States v. Elias, 984 F.3d 516, 518 (6th Cir. 2021). “If each of these

requirements are met, the district court may reduce the term of

imprisonment. 18 U.S.C. § 3582(c)(1)(A).” Id.

        The Court denies Defendant’s motion for compassionate release

because his access to the COVID-19 vaccine mitigates the concern about


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extraordinary and compelling medical conditions that might otherwise

compel release. Courts in this circuit have consistently refused to find

extraordinary and compelling medical circumstances when a defendant

declines the COVID-19 vaccine. See, e.g., United States v. Goston, No. 15-

20694 (E.D. Mich. Mar. 9, 2021) (Levy, J.); United States v. Macgregor,

No. 15-20093 (E.D. Mich. Mar. 12, 2021) (Leitman, J.); United States v.

Ervin, No. 14-000195 (M.D. Tenn. Mar. 5, 2021) (Richardson, J.).

Additionally, the Centers for Disease Control and Prevention advise that

the Moderna vaccine is 94.1% effective at preventing COVID-19 in

individuals who have not previously contracted COVID-19, and “highly

effective in clinical trials at preventing COVID-19 among people of

diverse age, sex, race, and ethnicity categories and among people with

underlying medical conditions.” COVID-19 Moderna, Centers for Disease

Control      (June     11,     2021)     https://www.cdc.gov/coronavirus/2019-

ncov/vaccines/different-vaccines/Moderna.html.

      Defendant is regrettably misguided about being a “test subject” for

an untested vaccine.2 To the contrary, the vaccine has been widely


      2 Though this may not be Defendant’s fault. As the undersigned has pointed
out in previous opinions, the Bureau of Prisons (BOP) has monumentally failed to
properly educate its staff and the detainees in its care about the necessity and efficacy
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distributed around the world and is extremely effective at preventing

infection from the COVID-19 disease. Between December 14, 2020 and

June 14, 2021, health officials administered more than 310 million doses

of COVID-19 vaccine in the United States. Reported Adverse Events,

Centers        for      Disease        Control       (June        14,      2021),

https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/adverse-

events.html. Administration of the COVID-19 vaccines has been subject

to “the most intense safety monitoring in U.S. history,” with the CDC

aggressively collecting data on vaccine safety and consolidating it in the

Vaccine Adverse Event Reporting System (VAERS). Id. The “FDA [Food

and Drug Administration] requires healthcare providers to report any

death after COVID-19 vaccination to VAERS, even if it’s unclear whether

the vaccine was the cause. A review of available clinical information,

including death certificates, autopsy, and medical records, has not

established a causal link [of death] to COVID-19 vaccines.” Id.

      The CDC has noted that there are an extremely small number of

individuals who, after vaccination, have experienced anaphylaxis (severe


of the COVID-19 vaccine. See United States of America v. Keith Kennedy (D-3), No.
18-20315, ECF No. 150 (noting that, as of April 2021, less than half of BOP workers
had themselves elected to get vaccinated).
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allergic reaction)—“approximately 2 to 5 people per million”—and

thrombosis (blood clots)—approximately 37 confirmed reports out of the

310 million vaccinated. Id. However, these experiences are rare and may

be mitigated by the on-site medical monitoring and care available during

the waiting period after vaccination. See id.

      The undersigned hopes that Defendant will reconsider his decision

to decline the vaccine. Regardless, his access to the vaccine mitigates any

extraordinary and compelling circumstances that his medical conditions

might otherwise present. Because there are no extraordinary and

compelling reasons for release, the Court need not consider the

remaining compassionate release factors at this time.3 See Elias, 984

F.3d at 518.

      Accordingly, Defendant’s motion is DENIED.

      IT IS SO ORDERED.

Dated: July 6, 2021                          s/Judith E. Levy
Ann Arbor, Michigan                          JUDITH E. LEVY
                                             United States District Judge




      3 Though were the Court to reach the § 3553(a) sentencing factors in this case,
it would likely also deny release for the reasons set forth during sentencing.
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